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Case 1:21-cv-00796-RP Decumnt-3 Filed 09/14/21 Page 1 of 2

AO 440 (Rev. 06/12) Suminons in a Civil Action (Page 2)

Civil Action No, *

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) OfFie Pe. OF Aroney Geveals
/ | 7 c

was received by me on (date) OC}

(1 T personally served the summons on the individual at (place)

 

on (date) 5; or

 

 

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

>. « served the summons on (name of individual) Seeah oe Gess , who is

designated by law to accept service of process on behalf of (name of organization)

Executive. Assistance on (date) OF [ZB 2). 5%

© I returned the summons unexecuted because : Or

 

 

=
°

 

O Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

1 declare under penalty of perjury that this information is true. eA

pate: OF / 3 bn U

   

 

Server’s signature

Rescoc Robirieod

Printed name and title

toe Viera View [2 OP ewind Kens

Server’s address *

 

Additional information regarding attempted service, etc:
Case 1:21-cv-00796-RP Document5 Filed 09

Western District of Texas - Austin Division, Texas
501 W 5TH, STE 1100 AUSTIN TX 78701

CASE #: 1:21-CV-796-LY

UNITED STATES OF AMERICA

Plaintiff
vs
STATE OF TEXAS

Defendant
AFFIDAVIT OF SERVICE

I, ROSCOE ROBINSON, make statement to the fact;

That I am a competent person more than 18 years of age o
Tha
stated below on 09/10/21 4:40 pm, instructing for same t

this action, nor interested in outcome of the suit.
TEXAS BY DELIVERING TO, OFFICE OF THE ATTORNEY GENERAL.

That I delivered to:

the following SUMMONS

209 W. 14th Street
Austin, Travis County, TX 78701

at this address

Manner of Delivery By PERSONALLY delivering the docume

Delivered on : Monday September 13, 2021 11:00 am

My name is ROSCOE ROBINSON, my date of birth is August 2
1520 Juliette Way Apt. 5304 Cedar Park TX 78613 and U.S.
of perjury that the foregoing is true and correct.
Executed in Williamson County, State of Texas,

D+ aed,

on the

 

A

OSCOE Ri SON

TX Certification#: PS

IOOUOONOCOTTNNM TY ssiees ees soe

 

 

 

pjohnson Dodge, Christopher D,

eaffidavits@pcpusa.net

STATE OF TEXAS BY DELIVERING TO, OF,
GENERAL. By Delivering to Sarah Bur;

IN A CIVIL ACTION; COMPLAIN

-

[i

/14/21 Page 2 of 2

PRIORITY SERVICE

r older and not a party to
t I received the documents
o be delivered upon STATE OF

FICE OF THE ATTORNEY

gess, Executive Assistant

ir

mt(s) to the person above.

Sth, 1950, and my address is
A. I declare under penalty

    

5 "Declarant
11/30/2022

 

c-6055 Exp.

PCP Inv#: AXXXXXXXX

RETURN TO CLIENT

 
